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                             UNITED STATES DISTRICT COURT                         FILED
                               DISTRICT OF SOUTH DAKOTA                                 2 g 2016

RANDY BRUDWICK,                                   Case No.:        5-019
               Plaintiff,

        vs.
                                                   COMPLAINT


CREDIT COLLECTIONS BUREAU,

               Defendant.




        Plaintiff, Randy Brudwick (hereinafter "Plaintiff'), by and through undersigned counsel,

hereby alleges against Defendant, Credit Collections Bureau (hereinafter "Defendant"), as

follows:


                                PRELIMINARY STATEMENT



1.      This is an action for damages arising from Defendant's violations of the Fair Debt

Collections Practices Act, 15 U.S.C. §1692 et seq. (hereinafter "FDCPA").


                                JURSIDICTION AND VENUE



2.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and 15 U.S.C.

§1692k(d).


3.     Venue is proper in this district under 28 U.S.C §1391(b).
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